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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

                                               )
  DAVID WILSON, as Administrator of the        )
  Estate of Lisa Noble,                        )         No. 6:17-CV-157-CHB-HAI
                                               )
         Plaintiff,                            )
                                               )
  v.                                           )                   ORDER
                                               )
  BEACON TRANSPORT, LLC, and                   )
  TERRAN COOPER,
                                               )
                                               )
         Defendants.

                                     *** *** *** ***

        On the Court’s own motion, IT IS HEREBY ORDERED THAT a telephonic

 conference, on the record and for counsel only, is SCHEDULED for Thursday, December 6,

 2018, at 2:00 p.m., based in London, Kentucky.       The purpose of the call is to discuss

 Defendant’s pending motion at Docket Entry 99. Dial-in information is the same as provided at

 Docket Entry 89.

        This the 3rd day of December, 2018.
